                     Case 2:23-cv-02549-DLR Document 31 Filed 03/22/24 Page 1 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

                         Whaleco Inc.                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:23-cv-02549-DLR
                                                                 )
                 Muhammad Arslan, et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Cong Yan




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Malvika A. Sinha (AZ Bar No. 038046)
                                       COPPERSMITH BROCKELMAN PLC
                                       2800 North Central Avenue, Suite 1900
                                       Phoenix, Arizona 85004
                                       Tel.: (602) 381-5493


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk




                                                                                                   ISSUED ON 7:46 am, Mar 22, 2024
                                                                                                      s/ Debra D. Lucas, Clerk
                     Case 2:23-cv-02549-DLR Document 31 Filed 03/22/24 Page 2 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

                         Whaleco Inc.                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:23-cv-02549-DLR
                                                                 )
                 Muhammad Arslan, et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mostafa Ibnelkhattab




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Malvika A. Sinha (AZ Bar No. 038046)
                                       COPPERSMITH BROCKELMAN PLC
                                       2800 North Central Avenue, Suite 1900
                                       Phoenix, Arizona 85004
                                       Tel.: (602) 381-5493


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk




                                                                                                    ISSUED ON 7:46 am, Mar 22, 2024
                                                                                                       s/ Debra D. Lucas, Clerk
                     Case 2:23-cv-02549-DLR Document 31 Filed 03/22/24 Page 3 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

                         Whaleco Inc.                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:23-cv-02549-DLR
                                                                 )
                 Muhammad Arslan, et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Eric Jones




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Malvika A. Sinha (AZ Bar No. 038046)
                                       COPPERSMITH BROCKELMAN PLC
                                       2800 North Central Avenue, Suite 1900
                                       Phoenix, Arizona 85004
                                       Tel.: (602) 381-5493


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk




                                                                                                    ISSUED ON 7:47 am, Mar 22, 2024
                                                                                                       s/ Debra D. Lucas, Clerk
                     Case 2:23-cv-02549-DLR Document 31 Filed 03/22/24 Page 4 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

                         Whaleco Inc.                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:23-cv-02549-DLR
                                                                 )
                 Muhammad Arslan, et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Ayoub Gege




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Malvika A. Sinha (AZ Bar No. 038046)
                                       COPPERSMITH BROCKELMAN PLC
                                       2800 North Central Avenue, Suite 1900
                                       Phoenix, Arizona 85004
                                       Tel.: (602) 381-5493


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk




                                                                                                    ISSUED ON 7:47 am, Mar 22, 2024
                                                                                                       s/ Debra D. Lucas, Clerk
                     Case 2:23-cv-02549-DLR Document 31 Filed 03/22/24 Page 5 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

                         Whaleco Inc.                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:23-cv-02549-DLR
                                                                 )
                 Muhammad Arslan, et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Philip Ja




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Malvika A. Sinha (AZ Bar No. 038046)
                                       COPPERSMITH BROCKELMAN PLC
                                       2800 North Central Avenue, Suite 1900
                                       Phoenix, Arizona 85004
                                       Tel.: (602) 381-5493


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk




                                                                                                     ISSUED ON 7:47 am, Mar 22, 2024
                                                                                                        s/ Debra D. Lucas, Clerk
                     Case 2:23-cv-02549-DLR Document 31 Filed 03/22/24 Page 6 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

                         Whaleco Inc.                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:23-cv-02549-DLR
                                                                 )
                 Muhammad Arslan, et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Joseph Nguyen




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Malvika A. Sinha (AZ Bar No. 038046)
                                       COPPERSMITH BROCKELMAN PLC
                                       2800 North Central Avenue, Suite 1900
                                       Phoenix, Arizona 85004
                                       Tel.: (602) 381-5493


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk




                                                                                                   ISSUED ON 7:47 am, Mar 22, 2024
                                                                                                      s/ Debra D. Lucas, Clerk
                     Case 2:23-cv-02549-DLR Document 31 Filed 03/22/24 Page 7 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

                         Whaleco Inc.                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:23-cv-02549-DLR
                                                                 )
                 Muhammad Arslan, et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Arvind Mishra




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Malvika A. Sinha (AZ Bar No. 038046)
                                       COPPERSMITH BROCKELMAN PLC
                                       2800 North Central Avenue, Suite 1900
                                       Phoenix, Arizona 85004
                                       Tel.: (602) 381-5493


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk




                                                                                                     ISSUED ON 7:47 am, Mar 22, 2024
                                                                                                        s/ Debra D. Lucas, Clerk
                     Case 2:23-cv-02549-DLR Document 31 Filed 03/22/24 Page 8 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

                         Whaleco Inc.                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:23-cv-02549-DLR
                                                                 )
                 Muhammad Arslan, et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Frances Clarke




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Malvika A. Sinha (AZ Bar No. 038046)
                                       COPPERSMITH BROCKELMAN PLC
                                       2800 North Central Avenue, Suite 1900
                                       Phoenix, Arizona 85004
                                       Tel.: (602) 381-5493


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk




                                                                                                    ISSUED ON 7:47 am, Mar 22, 2024
                                                                                                       s/ Debra D. Lucas, Clerk
                     Case 2:23-cv-02549-DLR Document 31 Filed 03/22/24 Page 9 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

                         Whaleco Inc.                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:23-cv-02549-DLR
                                                                 )
                 Muhammad Arslan, et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mobidea Limited




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Malvika A. Sinha (AZ Bar No. 038046)
                                       COPPERSMITH BROCKELMAN PLC
                                       2800 North Central Avenue, Suite 1900
                                       Phoenix, Arizona 85004
                                       Tel.: (602) 381-5493


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk




                                                                                                       ISSUED ON 7:47 am, Mar 22, 2024
                                                                                                          s/ Debra D. Lucas, Clerk
                    Case 2:23-cv-02549-DLR Document 31 Filed 03/22/24 Page 10 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

                         Whaleco Inc.                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:23-cv-02549-DLR
                                                                 )
                 Muhammad Arslan, et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Kailey C. Reed




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Malvika A. Sinha (AZ Bar No. 038046)
                                       COPPERSMITH BROCKELMAN PLC
                                       2800 North Central Avenue, Suite 1900
                                       Phoenix, Arizona 85004
                                       Tel.: (602) 381-5493


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk




                                                                                                     ISSUED ON 7:47 am, Mar 22, 2024
                                                                                                        s/ Debra D. Lucas, Clerk
                    Case 2:23-cv-02549-DLR Document 31 Filed 03/22/24 Page 11 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

                         Whaleco Inc.                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:23-cv-02549-DLR
                                                                 )
                 Muhammad Arslan, et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mike Seaver




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Malvika A. Sinha (AZ Bar No. 038046)
                                       COPPERSMITH BROCKELMAN PLC
                                       2800 North Central Avenue, Suite 1900
                                       Phoenix, Arizona 85004
                                       Tel.: (602) 381-5493


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk




                                                                                                     ISSUED ON 7:48 am, Mar 22, 2024
                                                                                                        s/ Debra D. Lucas, Clerk
                    Case 2:23-cv-02549-DLR Document 31 Filed 03/22/24 Page 12 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

                         Whaleco Inc.                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:23-cv-02549-DLR
                                                                 )
                 Muhammad Arslan, et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mithila Carlos




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Malvika A. Sinha (AZ Bar No. 038046)
                                       COPPERSMITH BROCKELMAN PLC
                                       2800 North Central Avenue, Suite 1900
                                       Phoenix, Arizona 85004
                                       Tel.: (602) 381-5493


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk




                                                                                                        ISSUED ON 7:48 am, Mar 22, 2024
                                                                                                           s/ Debra D. Lucas, Clerk
                    Case 2:23-cv-02549-DLR Document 31 Filed 03/22/24 Page 13 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

                         Whaleco Inc.                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:23-cv-02549-DLR
                                                                 )
                 Muhammad Arslan, et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Norris Bellemare




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Malvika A. Sinha (AZ Bar No. 038046)
                                       COPPERSMITH BROCKELMAN PLC
                                       2800 North Central Avenue, Suite 1900
                                       Phoenix, Arizona 85004
                                       Tel.: (602) 381-5493


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk




                                                                                                      ISSUED ON 7:48 am, Mar 22, 2024
                                                                                                         s/ Debra D. Lucas, Clerk
                    Case 2:23-cv-02549-DLR Document 31 Filed 03/22/24 Page 14 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

                         Whaleco Inc.                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:23-cv-02549-DLR
                                                                 )
                 Muhammad Arslan, et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Charles Young




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Malvika A. Sinha (AZ Bar No. 038046)
                                       COPPERSMITH BROCKELMAN PLC
                                       2800 North Central Avenue, Suite 1900
                                       Phoenix, Arizona 85004
                                       Tel.: (602) 381-5493


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk




                                                                                                   ISSUED ON 7:48 am, Mar 22, 2024
                                                                                                      s/ Debra D. Lucas, Clerk
                    Case 2:23-cv-02549-DLR Document 31 Filed 03/22/24 Page 15 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

                         Whaleco Inc.                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:23-cv-02549-DLR
                                                                 )
                 Muhammad Arslan, et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Edward Beattie




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Malvika A. Sinha (AZ Bar No. 038046)
                                       COPPERSMITH BROCKELMAN PLC
                                       2800 North Central Avenue, Suite 1900
                                       Phoenix, Arizona 85004
                                       Tel.: (602) 381-5493


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk




                                                                                                    ISSUED ON 7:48 am, Mar 22, 2024
                                                                                                       s/ Debra D. Lucas, Clerk
                    Case 2:23-cv-02549-DLR Document 31 Filed 03/22/24 Page 16 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

                         Whaleco Inc.                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:23-cv-02549-DLR
                                                                 )
                 Muhammad Arslan, et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Vitalii Korotieiev




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Malvika A. Sinha (AZ Bar No. 038046)
                                       COPPERSMITH BROCKELMAN PLC
                                       2800 North Central Avenue, Suite 1900
                                       Phoenix, Arizona 85004
                                       Tel.: (602) 381-5493


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk




                                                                                                        ISSUED ON 7:48 am, Mar 22, 2024
                                                                                                           s/ Debra D. Lucas, Clerk
